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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

CANDICE CURRY, on her own behalf:
and on behalf of all others
similarly situated              :

     v.                                :     Civil Action No. DKC 19-3467

                                :
MONEY ONE FEDERAL CREDIT UNION,
et al.                          :

                             NOTICE TO COUNSEL

     On   December    4,    2019,   Plaintiff     Candice     Curry   filed   a

putative class action lawsuit against Money One Federal Credit

Union, LLC (“Money One”), Innovative Strategic Solutions, LLC,

(d/b/a/   “CU     Collections”),       and     Silverman     Theologou,    LLP

(“Silverman      Theologou”)     (together,       “Defendants”)       alleging

violations under the Uniform Commercial Code, Md. Code Ann.,

Com. Law § 9-101, et seq.; the Maryland Consumer Debt Collection

Act, Md. Code Ann., Com. Law § 14-201, et seq.; the Maryland

Consumer Protection Act, Md. Code Ann., Com. Law § 13-101, et

seq.; and the Fair Debt Collection Practices Act (“the FDCPA”),

15 U.S.C. § 1692, et seq.       (ECF No. 1).

     In   June   2021,     following   limited    discovery    and    mediation

discussions, the parties entered into a class action settlement

agreement.    On June 15, 2021, the parties jointly filed a motion

for preliminary certification and approval of the proposed class

action settlement agreement.           (ECF No. 38).       On June 24, 2021,
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the court convened a telephone conference to discuss a handful

of outstanding questions regarding the terms of the proposed

settlement agreement.           The following day, on June 25, 2021, the

Supreme Court issued an opinion in TransUnion LLC v. Ramirez

concerning the requirement of standing in a class action.                            In

particular, the majority held that “An ‘asserted informational

injury that causes no adverse effects cannot satisfy Article

III.’”     2021 WL 2599472 (U.S. June 25, 2021) (quoting Trichell

v. Midland Credit Mgmt., Inc., 964 F.3d 990, 1004 (11th Cir.

2020)).      In light of Ramirez, this court issued a notice to

counsel stating that before it could proceed with determining

whether     to   grant       the   motion         for    preliminary     approval     of

settlement,      it    must    satisfy    itself         that   Ms.   Curry    and   all

putative class members suffered a concrete injury.                            Thus, the

court    directed     the     parties    to       file   memoranda    addressing     the

question of standing in this case.                      (ECF No. 40).       On July 12,

2021, Plaintiff filed a memorandum asserting that she and all

members of the putative class meet the concreteness requirement

for Article III standing because all of them suffered damaged

credit     as    a    result       of   Defendants’          disclosure       of   false

information:     (1)    in    public     court      records     via   the    collection

lawsuits filed against Plaintiff and some class members and (2)

to credit reporting agencies resulting in negative tradelines on

Plaintiff and all class members’ credit reports.                        (ECF No. 43).

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Defendants filed a response on July 26, 2021, noting that, for

purposes of this settlement, they do not contest that Plaintiff

and   the   members    of    the    putative   class    have    satisfied   the

requirement of standing.           (ECF No. 44).     While it is probably a

closer question than the parties make it out to be in their

filings, the court is satisfied that Plaintiff has adequately

alleged     standing        for    herself     and     the     class   members.

Accordingly, the court may now move forward in ruling on the

previously filed motion for preliminary approval of the proposed

class action settlement agreement.               Due to the approximately

one-month delay caused by briefing the issue of standing, the

court will promptly reach out to the parties to set a revised

date for the Final Fairness Hearing.



                                                /s/
                                      DEBORAH K. CHASANOW
                                      United States District Judge




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